Case 3:22-cv-00294-HTW-LGI   Document 151-23   Filed 08/11/23   Page 1 of 7

                                                                      1


            IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                     NORTHERN DIVISION


                                                   EXHIBIT 23
   ANGELA RUSSELL, AS ADMINISTRATRIX
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL                PLAINTIFF


   VS.                       CASE NO. 3:22-cv-294-HTW-LGI
   MANAGEMENT & TRAINING CORPORATION;
   MICHAEL MCCLINTON; ASHLEY RAY;
   MARCUS ROBINSON; ROXIE WALLACE;
   JACOB VIGLIANTE; JOHN AND JANE DOE
   CORRECTIONAL OFFICERS;
   VITALCORE HEALTH STRATEGIES, LLC;
   EVELYN DUNN; STACEY KITCHENS;
   WILLIAM BRAZIER; and
   JOHN AND JANE DOE MEDICAL PROVIDERS               DEFENDANTS



             DEPOSITION OF PATRICK ARNOLD, M.D.

             taken on Thursday, June 8, 2023,
           commencing at approximately 1:50 P.M.
         at East Mississippi Correctional Facility
                   10641 Highway 80 West
                   Meridian, Mississippi




   REPORTED BY:    CYNTHIA HARRIS, RPR, CCR #1828
                     SOUTHERN STENO REPORTERS
                      3541 Highway 13 South
                         Morton, MS 39117
                           601-507-0849
                        cynthiaharr@att.net


                   SOUTHERN STENO REPORTERS
                          601-507-0849
 Case 3:22-cv-00294-HTW-LGI    Document 151-23   Filed 08/11/23   Page 2 of 7

                                                                        2


1                             APPEARANCES
2

3    GRAFTON E. BRAGG, ESQ. (VIA ZOOM)
     grafton@graftonbragglaw.com
4    BRAGGLAW, PLLC
     1060 East County Line Road, Suite 3A-120
5    Ridgeland MS 39157
     COUNSEL FOR PLAINTIFF
6
7
8    RAY A. YOUNG, JR., ESQ.
     MARY CLARK JOYNER, ESQ.
9    ADAMS AND REESE, LLP
     300 Renaissance
10   1018 Highland Colony Parkway, Suite 800
     Ridgeland, MS 39157
11   COUNSEL FOR MANAGEMENT & TRAINING CORPORATION,
     MICHAEL MCCLINTON, ASHLEY RAY, AND MARCUS ROBINSON
12
13

14   MICHAEL D. CHASE, ESQ.
     mchase@mitchellmcnutt.com
15   MITCHELL, MCNUTT & SAMS
     105 South Front Street
16   Tupelo, MS 38804
     COUNSEL FOR VITALCORE HEALTH STRATEGIES, LLC;
17   EVELYN DUNN; STACEY KITCHENS; AND WILLIAM BRAZIER

18
19

20

21

22

23

24

25

                    SOUTHERN STENO REPORTERS
                           601-507-0849
 Case 3:22-cv-00294-HTW-LGI     Document 151-23   Filed 08/11/23   Page 3 of 7

                           PATRICK ARNOLD, M.D.                          7


1    you taken anything like that in the past 24 hours?
2          A.   No.

3          Q.   What have you done to prepare for the

4    deposition today?
5          A.   I met with our attorney yesterday.

6          Q.   Okay.    I don't want to know about
7    communications between you and your attorney, but did
8    you review any documents or videos or photographs

9    during that meeting?
10         A.   I reviewed one photo.      I reviewed...

11         Q.   Go ahead.     You were about to list out some

12   other things.
13         A.   I reviewed one photo.      I reviewed three pages

14   of testimony that Major McClinton gave, and that was

15   it.

16         Q.   What photograph?

17         A.   It was a photograph that was inside unit 7.

18         Q.   It was a photograph of the unit 7, which is
19   sometimes called camp support; is that right?

20         A.   Yes.

21         Q.   Was it a screenshot from a video, perhaps, or

22   do you know?

23         A.   It could have been a screenshot from a video.

24         Q.   All right.    Talk to me about your -- what is

25   your actual job title at East Mississippi Correctional

                        SOUTHERN STENO REPORTERS
                               601-507-0849
 Case 3:22-cv-00294-HTW-LGI    Document 151-23   Filed 08/11/23   Page 4 of 7

                           PATRICK ARNOLD, M.D.                         8


1    Facility?
2        A.     I'm the site medical director.

3        Q.     And what does that entail?

4        A.     I oversee medical care of the inmate
5    population.    I supervise two nurse practitioners - one

6    -- both of which are part time.
7        Q.     Who are the nurse practitioners?       I'm sorry; I
8    cut you off.    Say that again.

9        A.     Both of those are part time.      I think is the
10   last thing I said.

11       Q.     Who are the two nurse practitioners that you

12   oversee?
13       A.     Phillis Hopson and Erica Glover.

14       Q.     Do you oversee Nurse Practitioner Evelyn Dunn?

15       A.     No, sir.

16       Q.     Does she still work at the facility?

17       A.     To my knowledge, yes.

18       Q.     So do you oversee mental health at the
19   facility?

20       A.     No, sir.

21       Q.     And I should say mental health care.         So you

22   don't oversee mental health care.       Who is the person

23   that oversees mental health care at the facility?

24       A.     To my understanding, George Anderson.

25       Q.     Did you say George Anderson?

                     SOUTHERN STENO REPORTERS
                            601-507-0849
 Case 3:22-cv-00294-HTW-LGI    Document 151-23   Filed 08/11/23   Page 5 of 7

                         PATRICK ARNOLD, M.D.                           9


1        A.   I think that's his first name.
2        Q.   Does he actually physically come to the

3    facility at any point, to your knowledge?

4        A.   Yes.
5        Q.   Do you know if he was there on October 7th,

6    2021, on the date of Jeremy Russell's death?
7        A.   I do not know.
8        Q.   You did not see him; is that correct?

9        A.   I don't recall seeing him.
10       Q.   Okay, fair enough.      How would you describe

11   your practice area?      I understand that you are the

12   site medical director, but what would you say your
13   areas of practice are in medicine?

14       A.   My training is in internal medicine.

15       Q.   And for the benefit of the record, what is

16   that?

17       A.   That's the treatment of nonsurgical medical

18   care, typically for adults.
19       Q.   Does that include mental health?

20       A.   No, sir.

21       Q.   Can internists sometimes treat mental health

22   conditions?

23       A.   In the community, they treat depression and

24   anxiety, but I don't treat depression and anxiety.

25       Q.   Okay.    That's not something you do?

                      SOUTHERN STENO REPORTERS
                             601-507-0849
 Case 3:22-cv-00294-HTW-LGI    Document 151-23   Filed 08/11/23   Page 6 of 7

                         PATRICK ARNOLD, M.D.                          11


1    way that I asked the question produced an answer
2    that's -- let me just confirm.       Are you aware of any

3    training at East Mississippi on the NCCHC standards?

4        A.   No, sir.
5        Q.   Have you ever made a decision to pronounce

6    someone dead?
7        A.   No, sir.
8        Q.   What type of practitioner would be the one to

9    be able to make that decision?
10       A.   The medical examiner or the coroner.

11       Q.   What about an ER physician?

12       A.   An ER physician could do it.
13       Q.   Have you ever made any decisions about the

14   cause of death?

15       A.   No, sir.

16       Q.   Would you be qualified to make a decision

17   about someone's --

18            MR. BRAGG:      Scratch that.
19   BY MR. BRAGG:

20       Q.   Would you be qualified to pronounce someone

21   dead?

22       A.   No, sir.

23       Q.   Did you know Jeremy Russell before he passed

24   away?

25       A.   I don't recall him.

                     SOUTHERN STENO REPORTERS
                            601-507-0849
 Case 3:22-cv-00294-HTW-LGI     Document 151-23   Filed 08/11/23   Page 7 of 7

                        PATRICK ARNOLD, M.D.                            16


1        "And Dr. Arnold said to me, 'Hey, I don't want you
2    to beat yourself up now'" - we're going on to page 82.

3        "I said, 'Why would you do that, Doc?'

4        "He say, 'In my professional medical opinion, if
5    you could have been at least two, three minutes

6    earlier, you possibly could have saved him.'"
7        Do you recall having that conversation with Major
8    McClinton?

9        A.   I do not recall that.
10       Q.   Are you here to testify that it didn't happen,

11   or just that you don't recall it?

12       A.   I can't recall it happening.
13       Q.   If Major McClinton recalled it happening,

14   you're not saying that he's wrong?

15            MR. CHASE:       Object to form.

16   BY MR. BRAGG:

17       Q.   Are you testifying that Major McClinton did

18   not remember this correctly, or are you just
19   testifying that you don't recall it?

20       A.   My testimony is that I don't recall it.

21            MR. BRAGG:      That's all I have for now.

22            MR. CHASE:       Did you say that was all?

23            MR. BRAGG:       Yes.

24            MR. YOUNG:       I don't think I have any questions

25   right now.

                     SOUTHERN STENO REPORTERS
                            601-507-0849
